                              Application GRANTED. The conference scheduled for October 19, 2022, is
                              ADJOURNED to January 4, 2023, at 4:10 p.m. The conference will be
                              telephonic and will take place on the following line: 888-363-4749; access
                              code: 558-3333. The time of the conference is approximate but the parties
October 6, 2022               shall be prepared to begin at the scheduled time. So Ordered.

VIA ECF                       Dated: October 7, 2022
                                     New York, New York
Hon. Lorna G. Schofield
United States District Court for the Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Global Gaming Philippines, LLC v. Razon, Jr., et al., 21 Cv. 2655 (LGS) (SN)

Dear Judge Schofield:

The Parties respectfully request that the case management conference that is currently scheduled
for October 19, 2022 be adjourned until a date after the close of expert discovery on December 9,
2020.

The Court’s Case Management Plan and Scheduling Order contemplates that a case management
conference will be held “usually fourteen days after the close of all discovery.” (See ECF No. 51.)
The Court has extended the discovery deadlines in this case on multiple occasions. (ECF No. 205,
209, 247.) At the time that the Court set the close of expert discovery for September 30, 2022 (ECF
No. 247), Your Honor scheduled the case management conference for October 19, 2022. (ECF
No. 248.) Since then, the Court has extended the expert discovery deadline to December 9, 2022.
(ECF No. 277.)
Respectfully submitted,


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